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uNiTED sTATEs OF AMEH|CA, §§,_‘§R§§§£-;:,.`§; §¢;:;§\,i;f,H,f.-g

Plaintiff,

VS.
CR. NO. 04-20469-02-B

|V|ECHELLE CRAWFORD,

Defendants.

 

OF{DEF{ ON CONT|NUANCE AND SPEC|FY|NG PEF{IOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on lVlay 31, 2005. At that time, counsel for the
defendant requested a continuance for change of plea.

The Court granted the request and set the chanqe of plea date for Thursdav.
June 23. 2005 at 3:15 p.m., in Courtroom 1. 11th Floor of the Federal Bui|ding, |V|emphis,
TN.

The period from June 17, 2005 through Ju|y 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends otjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

nis so oRDERED this LQ§ day of June, 2005.

(.

. DA |EL BREEN
N|T D STATES DISTF'I|C JUDGE

 

Thls document entered oh the docket sheelin cc,:rr(iwiarzce

With Rule 55 and/or 32(b) PR'C.rP on " '

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This notice confirms a copy of the document docketed as number 37 in
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Honorable J. Breen
US DISTRICT COURT

